      Case 1:17-cv-01887-JEO      Document 13     Filed 01/23/18    Page 1 of 1              FILED
                                                                                    2018 Jan-23 AM 08:48
                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                         EASTERN DIVISION
MARY ANN PARKER,                           )
                                           )
      Plaintiff,                           )
                                           )
v.                                         )   Case No. 1:17-cv-01887-JEO
                                           )
FRED’S STORES OF TENNESSEE,                )
INC., and VMCPP, LLC,                      )
                                           )
      Defendants.                          )

                            ORDER OF DISMISSAL
      The plaintiff has filed a notice of voluntary dismissal of this action with

prejudice. (Doc. 12). Because such notice precedes an answer or a motion for

summary judgment by the defendants, the dismissal is effective without a court

order. See FED. R. CIV. P. 41(a)(1)(A)(i). Accordingly, this action is hereby

DISMISSED WITH PREJUDICE, with costs taxed as paid. The clerk is

DIRECTED to close the file.

      DONE this 23rd day of January, 2018.



                                       _________________________________
                                       JOHN E. OTT
                                       Chief United States Magistrate Judge
